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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


 UNITED STATES OF AMERICA,

        v.                                                CASE NO.:5:21-cr-9

 BRETT DONAVAN BUSSEY,

                 Defendant.


                                          ORDER

       This matter is before the Court on the Government’s Motion for Order Allowing the

Government to Maintain Custody of Seized Property Pursuant to 18 U.S.C. §

983(A)(3)(B)(ii)(II), doc. 98, and Defendant’s Motion for Return of Seized Property and

Response to Motion for Order Allowing the Government to Maintain Custody of Seized

Property, doc. 236. The Court conducted a Motions Hearing on March 2, 2022 to hear oral

argument from the parties on the two motions. At the hearing, the parties explained the

Government declined to seek forfeiture of two seized vehicles. Accordingly, the parties agreed

those two vehicles should be returned to Defendant. In light of those representations,

Defendant’s Motion for Return of Seized Property, doc. 236, is GRANTED in part, but only as

to the two vehicles for which the Government has expressly declined to seek forfeiture.

Specifically, the following seized property is ORDERED to be returned to Defendant Brett

Donavan Bussey at 298 Westwood Heights Circle, Douglas, Georgia within 10 days of the date

of this Order:

             1. 2006 Toyota 4Runner, VIN JTEZU17R968043067; and

             2. 2020 Nissan Altima, VIN 1N4BL4EVOLC128307.
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       The remainder of the Government’s Motion, doc. 98, and Defendant’s Motion, doc. 236,

concern other seized property (i.e., a 2018 Ford F150 Super Crew, VIN 1FTEW1E57JF887539;

and $4,638.72 in U.S. Currency), and will be addressed by separate order.

       SO ORDERED, this 4th day of March, 2022.




                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
